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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                             District of New Mexico

                 UNITED STATES OF AMERICA                                 Judgment in a Criminal Case
                                                                          (For Revocation of Probation or Supervised Release)
                                   V.
                         Guillermo Medel                                  Case Number: 1:10CR01738-001JB
                                                                          USM Number: 57567-051
                                                                          Defendant’s Attorney: Emily Carey, Appointed

THE DEFENDANT:

☒    admitted guilt to violations of condition(s) Standard, Special, Special, Special, Mandatory, Mandatory, Mandatory of the
term of supervision.
☐ was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                Nature of Violation                                                   Violation Ended

Standard Condition              The defendant failed to report to the probation officer in a          01/22/2020
                                manner and frequency directed by the court or probation
                                officer.


The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

☐ The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

5882                                                                     February 8, 2022
Last Four Digits of Defendant’s Soc. Sec. No.                            Date of Imposition of Judgment


1981                                                                     /s/ James O. Browning
Defendant’s Year of Birth                                                Signature of Judge




                                                                         Honorable James O. Browning
Albuquerque, NM                                                          United States District Judge
City and State of Defendant’s Residence                                  Name and Title of Judge

                                                                         May 27, 2022
                                                                         Date
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                       Sheet 1A                                                                                Judgment - Page 2 of 3



DEFENDANT: Guillermo Medel
CASE NUMBER: 1:10CR01738-001JB

                                                     ADDITIONAL VIOLATIONS
Violation Number                Nature of Violation                                          Violation Ended

Special Condition               The defendant failed to participate in and successfully      01/16/2020
                                complete an outpatient substance abuse treatment program
                                approved by the probation officer, which may include
                                testing.

Special Condition               The defendant failed to submit to substance abuse testing as 01/22/2020
                                directed by the probation officer.

Special Condition               The defendant failed to participate in and successfully      01/16/2020
                                complete an outpatient mental health treatment program
                                approved by the probation officer.

Mandatory Condition             The defendant failed to refrain from any unlawful use of a   12/19/2019
                                controlled substance.

Mandatory Condition             The defendant committed another federal, state, or local     09/23/2020
                                crime.

Mandatory Condition             The defendant failed to refrain from possessing a firearm,   09/23/2020
                                ammunition, destructive device, or any other dangerous
                                weapons.
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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2 - Imprisonment                                                                        Judgment - Page 3 of 3



DEFENDANT: Guillermo Medel
CASE NUMBER: 1:10CR01738-001JB

                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: 12 months .

Said term shall run consecutively to the sentence imposed in Case No. 1:20-CR-01764-001JB.

For the reasons stated on the record at the sentencing hearing held February 8, 2022, the Court varies downward.

A term of supervised release will not be reimposed.

☐ The court makes the following recommendations to the Bureau of Prisons:




☒    The defendant is remanded to the custody of the United States Marshal.
☐    The defendant shall surrender to the United States Marshal for this district:
     ☐ at on .
     ☐ as notified by the United States Marshal.
☐    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     ☐ before 2 p.m. on .
     ☐ as notified by the United States Marshal.
     ☐ as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                        to
                                                  at                                with a certified copy of this judgment.




                                                                                   UNITED STATES MARSHAL

                                                                              By
                                                                                   DEPUTY UNITED STATES MARSHAL
